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                                                      THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   KAREN D. SMITH,                                         CASE NO. C19-0538-JCC
10                             Plaintiff,                    ORDER
11          v.

12   THE BANK OF NEW YORK MELLON,
     et al.,
13
                               Defendants.
14

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16          This matter comes before the Court on Plaintiff’s motions to strike affirmative defenses

17   (Dkt. Nos. 29, 30). Having thoroughly considered the parties’ briefing and the relevant record,

18   the Court finds oral argument unnecessary and hereby GRANTS the motions for the reasons

19   explained herein.

20   I.     BACKGROUND

21          Plaintiff alleges that Defendants violated the Washington Consumer Protection Act

22   (CPA), Wash. Rev. Code § 19.86.020, and the federal Fair Debt Collection Practices Act

23   (FDCPA), 15 U.S.C. § 1692, by attempting to collect on a time-barred mortgage debt. (Dkt. No.

24   10 at 9–19.) On May 26, 2019, Defendants Bank of New York Mellon (“BONY”) and Shellpoint

25   filed an answer to Plaintiff’s complaint, asserting sixteen affirmative defenses. (Dkt. No. 19.) On

26   June 5, 2019, Defendant MTC Financial, Inc. (“Defendant MTC”) filed an answer to Plaintiff’s


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 1   complaint in which it asserted ten affirmative defenses. (Dkt. No. 26.) Plaintiff moves to strike

 2   all of the affirmative defenses asserted by Defendants MTC, BONY, and Shellpoint, on the

 3   grounds that each defense either lacks sufficient supporting facts to give Plaintiff fair notice or is

 4   not actually an “affirmative” defense. (See Dkt. Nos. 29, 30.)

 5   II.     DISCUSSION

 6           A.      Legal Standard

 7           Under Federal Rule of Civil Procedure 12(f), a district court “may strike from a pleading

 8   an insufficient defense or any redundant, immaterial, impertinent, or scandalous matter.” Fed. R.
 9   Civ. R. 12(f). “[T]he function of a 12(f) motion to strike is to avoid the expenditure of time and
10   money that must arise from litigating spurious issues by dispensing with those issues prior to
11   trial . . . .” Sidney–Vinstein v. A.H. Robins Co., 697 F.2d 880, 885 (9th Cir. 1983). To determine
12   whether a defense is “insufficient” under Rule 12(f), the Court asks whether it gives the plaintiff
13   fair notice of the defense. Simmons v. Navajo Cty, 609 F.3d 1011, 1023 (9th Cir. 2010) (citing
14   Wyshak v. City Nat’l Bank, 607 F.2d 824, 827 (9th Cir. 1979)). Under Federal Rule of Procedure
15   8, a party must “state in short and plain terms its defenses to each claim asserted against it.” Fed.
16   R. Civ. P. 8(b); see also Rosen v. Marketing Grp, LLC, 222 F. Supp. 3d 793, 802 (C.D. Cal.
17   2016) (“Affirmative defenses must be supported by at least some facts indicating the grounds on
18   which the defense is based, but need not include facts sufficient to demonstrate plausible

19   entitlement to relief.”).

20           1. Failure to State a Cause of Action – Defendants MTC, BONY, and Shellpoint

21           Defendants assert the defense of failure to state a claim upon which relief can be granted.

22   (Dkt. Nos. 19 at 15, 26 at 7.) By definition, “[a] defense which demonstrates that [a] plaintiff

23   has not met its burden of proof is not an affirmative defense.” Zivkovic v. S. Cal. Edison Co., 302

24   F.3d 1080, 1088 (9th Cir. 2002). The assertion of failure to state a claim upon which relief can be

25   granted is not an affirmative defense; rather, it challenges the legal or factual sufficiency of a

26   plaintiff’s claims, and necessarily means that the plaintiff cannot meet his or her burden of proof.


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 1   Therefore, the Court STRIKES Defendants’ first affirmative defense without leave to amend. 1

 2            2. Collateral Estoppel and/or Res Judicata – Defendant MTC

 3            Defendant MTC asserts that “Plaintiff’s claims against Trustee Corps may be barred in

 4   whole or in part based on the doctrines of collateral estoppel and/or res judicata.” (Dkt. No. 26 at

 5   7.) Plaintiff argues that this statement, void of any facts to support it, is insufficient to give

 6   Plaintiff fair notice of the defense made against her. (Dkt. No. 29 at 6.) The Court agrees with

 7   Plaintiff. Simply asserting the defense as a conclusory statement, with no indication as to which

 8   claims Defendant believes are collaterally estopped or why they are collaterally estopped, does
 9   not give Plaintiff fair notice. See Rosen, 222 F. Supp. 3d at 797. The Court STRIKES
10   Defendant’s second affirmative defense with leave to amend.
11            3. Equitable Defenses – Defendants MTC, BONY, and Shellpoint

12            Defendants assert that Plaintiff’s claims may be barred in whole or in part under the

13   doctrines of waiver, laches, estoppel, and/or unclean hands. (Dkt. Nos. 19 at 15, 26 at 7.) This

14   affirmative defense is insufficiently asserted by each Defendant. Defendants’ answers contain no

15   facts that explain how Plaintiff waived her claims or how she is estopped from bringing her

16   claims. On this basis, the Court STRIKES Defendants’ third affirmative defense with leave to

17   amend.

18            4. Failure to Suffer Damages Proximately Caused – Defendant MTC

19            Defendant MTC asserts: “Plaintiff’s claims against Trustee Corps may be barred in whole

20   or in part because Plaintiff has failed to suffer any damages proximately caused by Trustee

21   Corps.” (Dkt. No. 26 at 7.) Essentially, Defendant is asserting that Plaintiff failed to meet one

22   element of her burden of proof; however, as previously discussed, a challenge to the sufficiency

23   of a plaintiff’s claims is not an affirmative defense. See Zivkovic, 302 F.3d at 1088. The Court

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               This ruling does not preclude Defendants from challenging the legal sufficiency of
     Plaintiff’s claims in a dispositive motion, such as a motion for judgment on the pleadings under
26   Federal Rule of Civil Procedure 12(c) or a motion for summary judgment.

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 1   STRIKES Defendant’s fourth affirmative defense without leave to amend.

 2          5. Plaintiff’s Fault or Fault of Another – Defendants MTC, BONY, and Shellpoint

 3          Defendants assert that Plaintiff’s alleged damages, if any, are the result of her own fault

 4   or the fault of another, for which Defendants have no liability. (Dkt. Nos. 19 at 17, 26 at 7.)

 5   Plaintiff argues that this affirmative defense should be stricken as to all Defendants because it is

 6   void of any factual allegations to support it. (See Dkt. No. 29 at 6–7, 30 at 8.) The Court agrees

 7   with Plaintiff. Defendants’ recitation of the affirmative defense, without any specificity or facts

 8   to support it, does not give fair notice to Plaintiff regarding how she or someone other than
 9   Defendants is at fault for her alleged damages. The Court STRIKES Defendant MTC’s fifth
10   affirmative defense with leave to amend. The Court STRIKES Defendants BONY and
11   Shellpoint’s twelfth and thirteenth affirmative defenses with leave to amend.
12          6. Failure to Mitigate – Defendants MTC, BONY, and Shellpoint

13          Defendants assert that Plaintiff’s claims may be barred in whole or in part because she

14   failed to mitigate her alleged damages. (Dkt. Nos. 19 at 16, 26 at 8.) Plaintiff argues that this

15   defense should be stricken because it is “wholly devoid of any factual basis.” (Dkt. Nos. 29 at 7,

16   30 at 7.) The Court agrees with Plaintiff. The vague assertion fails to give Plaintiff fair notice as

17   to which damages she allegedly failed to mitigate. Therefore, the Court STRIKES Defendant

18   MTC’s sixth affirmative defense with leave to amend, and STRIKES Defendants BONY and

19   Shellpoint’s fourth affirmative defense with leave to amend.

20          7. Breach of Duty – Defendant MTC

21          Defendant MTC asserts that “Plaintiff does not have a cognizable claim for damages

22   against Trustee Corps because Trustee Corps has not breached any duty with regard to its role as

23   trustee on the deed of trust for the real property at issue.” (Dkt. No. 26 at 8.) Defendant is again

24   asserting that Plaintiff failed to meet one element of her burden of proof; as previously discussed,

25   a challenge to the sufficiency of a plaintiff’s claims is not an affirmative defense. See Zivkovic,

26   302 F.3d at 1088. The Court STRIKES Defendant’s seventh affirmative defense without leave to


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 1   amend.

 2            8. Violations of Deed of Trust Act – Defendant MTC

 3            Defendant MTC asserts that “Plaintiff’s claim is barred in whole or in part because

 4   Trustee Corp has not violated any aspect of Washington’s Deed of Trust Act.” (Dkt. No. 26 at 8.)

 5   For the reasons stated above, this is not an affirmative defense. Instead, it asserts that Plaintiff

 6   cannot meet an element of her claim. The Court STRIKES Defendant’s eighth affirmative

 7   defense without leave to amend.

 8            9. Deed of Trust Act, Waiver, and Applicable Legal Principles – Defendant MTC
 9            Defendant MTC asserts that “Plaintiff’s claims may be barred in whole or in part based

10   on Washington’s Deed of Trust Act, the doctrine of waiver, or applica[ble] related legal

11   principles.” (Id.) This assertion is extremely vague and does not give Plaintiff fair notice of the

12   defense made against her. Based on this statement, Plaintiff could not possibly know which

13   “legal principles” Defendant refers to or how they may pertain to any of her claims. Moreover,

14   the defense is duplicative of Defendant’s other affirmative defense regarding the Deed of Trust

15   Act. On this basis, the Court STRIKES Defendant MTC’s ninth affirmative defense with leave to

16   amend.

17            10. Statute of Limitations – Defendant MTC

18            Defendant MTC asserts that “Plaintiff’s claim is barred in whole or in part by an

19   applicable statute of limitations and/or statutes of repose.” (Id.) This boilerplate assertion does

20   not give Plaintiff fair notice because it does not state the applicable statute of limitations or

21   which of Plaintiff’s claims are barred. The Court STRIKES Defendant MTC’s tenth affirmative

22   defense with leave to amend.

23            11. Good Faith/Reasonable Commercial Standards – Defendants BONY and Shellpoint

24            Defendants BONY and Shellpoint assert that “Plaintiff’s claims may be barred because

25   Defendants at all times complied in good faith with all applicable statutes and regulations,

26   including Washington’s Consumer Protection Act, the FDCPA, and other relevant laws, thus


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 1   precluding any recovery by Plaintiff against Defendants.” (Dkt. No. 19 at 15.) Defendants’

 2   assertion that they complied with the law is not an affirmative defense. Instead, it challenges the

 3   factual sufficiency of Plaintiff’s claims by alleging that Plaintiff cannot prove a violation of the

 4   law. See Zivkovic, 302 F.3d at 1088. Therefore, Court STRIKES Defendants BONY and

 5   Shellpoint’s second affirmative defense without leave to amend.

 6          12. Ratification and Consent – Defendants BONY and Shellpoint

 7          Defendants BONY and Shellpoint assert in their fifth affirmative defense that Plaintiff

 8   “has consented to, ratified, or acquiesced in all of the alleged acts or omissions of which she
 9   complains.” (Dkt. No. 19 at 16.) Defendants’ sixth affirmative defense is essentially duplicative
10   of the fifth, alleging that “by conduct, acts and/or omissions, Plaintiff consented to and
11   acquiesced in Defendants’ alleged conduct.” (Id.) This boilerplate language does not give
12   Plaintiff fair notice because it lacks any factual support as to which acts Plaintiff consented to,
13   which acts she ratified, and which acts she acquiesced in. The Court STRIKES Defendants
14   BONY and Shellpoint’s fifth and sixth affirmative defenses with leave to amend.
15          13. No Attorney’s Fees – Defendants BONY and Shellpoint

16          Defendants BONY and Shellpoint assert that Plaintiff’s complaint does not allege

17   sufficient facts to support a claim or award of attorney fees. (Dkt. No. 19 at 16.) The award of

18   attorney fees is not an affirmative defense because it does not preclude the liability of a

19   defendant. Barnes v. AT&T Pension Ben. Plan-Nonbargained Program, 718 F. Supp. 2d 1167,

20   1174 (N.D. Cal. 2010). Instead, attorney fees are collateral to the merits of an action and are

21   awarded after judgment. Id. Accordingly, the Court STRIKES Defendants BONY and

22   Shellpoint’s seventh affirmative defense without leave to amend.

23          14. Independent/Intervening Conduct – Defendants BONY and Shellpoint

24          Defendants BONY and Shellpoint assert that Plaintiff is barred from recovery because

25   “any damages sustained by Plaintiff was the direct and proximate result of the independent,

26   intervening, negligent and/or unlawful conduct of independent third parties or their agents, and


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 1   not any act or omissions on the part of Defendants.” (Dkt. No. 19 at 16.) Defendants’ assertion

 2   fails to give Plaintiff fair notice because it does not inform Plaintiff who the third party is, or

 3   what the intervening or negligent acts were, that allegedly caused harm to Plaintiff. On this basis,

 4   the Court STRIKES Defendants BONY and Shellpoint’s eighth affirmative defense with leave to

 5   amend.

 6            15. Setoff – Defendants BONY and Shellpoint

 7            Defendants BONY and Shellpoint assert that Plaintiff’s claims are “subject to setoff

 8   and/or recoupment for all amounts due and owing to defendants.” (Id.) This assertion, with no
 9   factual support alleging which claims are subject to setoff or recoupment, is insufficient to give
10   Plaintiff fair notice of the defense made against her. The Court STRIKES Defendants BONY and
11   Shellpoint’s ninth affirmative defense with leave to amend.
12            16. Tolling – Defendants BONY and Shellpoint

13            Defendants BONY and Shellpoint assert that “any claims alleged by Plaintiff to be time-

14   barred are subject to equitable tolling.” (Dkt. No. 19 at 17.) This assertion challenges the legal

15   sufficiency of Plaintiff’s claim and is not an affirmative defense. See Zivkovic, 302 F.3d at 1088.

16   Plaintiff’s prima facie case is based on the allegation that the debt at issue was indeed time-

17   barred. Therefore, Defendants’ assertion necessarily requires that Plaintiff cannot meet the

18   burden of proof as to her claims. The Court STRIKES Defendants BONY and Shellpoint’s tenth

19   affirmative defense without leave to amend.

20            17. Several Liability – Defendants BONY and Shellpoint

21            Defendants BONY and Shellpoint assert that “should Plaintiff prevail against

22   Defendants, Defendants’ liability is several and limited to their own actionable segment of fault,

23   if any.” (Dkt. No. 19 at 17.) Apportionment of liability is not a defense to liability itself. See

24   United States v. Stringfellow, 661 F. Supp. 1053, 1060 (C.D. Cal. 1987). “The Court has

25   discretion to use equitable factors in apportioning damages . . . [h]owever, the Court’s discretion

26   in apportioning damages among the defendants during the contribution phase does not effect the


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 1   defendants’ liability.” Id. Therefore, Defendants have not asserted an affirmative defense to their

 2   liability against Plaintiff’s claims. The Court STRIKES Defendants’ eleventh affirmative defense

 3   without leave to amend. However, this does not preclude Defendants from arguing that damages

 4   should be apportioned according to Defendants’ respective contribution of fault if joint and

 5   several liability is imposed.

 6          18. Authorized by Statute – Defendants BONY and Shellpoint

 7          Defendants BONY and Shellpoint assert that “Plaintiff’s claims may be barred because

 8   the acts or omissions alleged in the Complaint have been approved and/or mandated, implicitly
 9   or expressly, by applicable statutes and regulations.” (Dkt. No. 19 at 17.) The assertion is void of
10   any factual support and does not give Plaintiff fair notice regarding which acts have been
11   approved by which statutes. The Court STRIKES Defendants BONY and Shellpoint’s fourteenth
12   affirmative defense with leave to amend.
13          19. Not a Debt Collector – Defendants BONY and Shellpoint

14          Defendants BONY and Shellpoint assert that “Plaintiff’s claims are barred because

15   [D]efendants are not debt collectors as defined by the FDCPA.” (Dkt. No. 19 at 18.) Again,

16   Defendants are asserting that Plaintiff cannot meet one element of her FDCPA claim—that

17   Defendants are debt collectors. See Heejon Chung v. U.S. Bank, N.A., 250 F. Supp. 3d 658, 680

18   (D. Haw. 2017). A challenge to the sufficiency of a plaintiff’s claims is not an affirmative

19   defense. See Zivkovic, 302 F.3d at 1088. The Court STRIKES Defendants BONY and

20   Shellpoint’s fifteenth affirmative defense without leave to amend.

21          20. Reservation of Rights – Defendants BONY and Shellpoint

22          At the end of their affirmative defenses, Defendants BONY and Shellpoint state:

23   “Defendants expressly reserve the right to assert such other and further affirmative defenses as

24   may be appropriate.” (Dkt. No. 19 at 18.) Federal Rule of Civil Procedure 15 lays out the

25   requirements for amending a pleading, to include filing additional affirmative defenses. Rule 15

26   does not require a party to reserve the right to assert additional defenses. See Johnson v.


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 1   Providence Health & Servs, Inc., Case No. C17-1779-JCC, Dkt. No. 39 at 5 (W.D. Wash. 2018).

 2   Defendants’ reservation of rights language is therefore unnecessary and immaterial to its

 3   affirmative defenses. On this basis, the Court STRIKES Defendants BONY and Shellpoint’s

 4   sixteenth affirmative defense without leave to amend.

 5   III.   CONCLUSION

 6          For the foregoing reasons, Plaintiff’s motion to strike Defendant MTC’s affirmative

 7   defenses (Dkt. No. 29) is GRANTED. In accordance with this order, the Court STRIKES

 8   Defendant MTC’s affirmative defenses 1, 4, 7 and 8 without leave to amend. The Court
 9   STRIKES Defendant’s affirmative defenses 2, 3, 5, 6, 9, and 10 with leave to amend. If MTC
10   chooses to file an amended answer, it must do so within 14 days from the issuance of this order.
11          Plaintiff’s motion to strike Defendants BONY and Shellpoint’s affirmative defenses (Dkt.
12   No. 30) is GRANTED. In accordance with this order, the Court STRIKES Defendants BONY
13   and Shellpoint’s affirmative defenses 1, 2, 7, 10, 11, 15, and 16 without leave to amend. The
14   Court STRIKES Defendants’ affirmative defenses 3–6, 8, 9, 12–14 with leave to amend. If
15   BONY and Shellpoint choose to file an amended answer, they must do so within 14 days from
16   the issuance of this order.
17          DATED this 30th day of July 2019.




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                                                         John C. Coughenour
21                                                       UNITED STATES DISTRICT JUDGE
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